        Case 6:20-cv-01018-KHV-ADM Document 6 Filed 03/19/20 Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


EDWARD RASCHEN,                                 )
                                                )
                                Plaintiff,      )
                                                )
        v.                                      )             Case No. 6:20-cv-01018-KHV-ADM
                                                )
UNIFIED SCHOOL DISTRICT NO. 506                 )
ALTAMONT, KS,                                   )
                                                )
                                Defendant.      )


                                             ANSWER

        Defendant answers plaintiff’s complaint as follows:

    1. All allegations not admitted are denied.

    2. In response to ¶1, defendant admits the nature of the action as described but denies

        plaintiff has stated a claim.

    3. Defendant is without sufficient information to form a belief as to the truth of the

        allegations contained in ¶2 and for that reason denies the same.

    4. Paragraph 3 calls for a legal conclusion and is therefore denied.

    5. Paragraph 4 is admitted.

    6. Paragraph 5 is vague and is therefore denied.

    7. In response to ¶6, defendant admits jurisdiction and venue are appropriate. Defendant

        denies plaintiff has stated a claim for relief.

    8. Paragraph 7 is an accurate statement of the law.

    9. In response to ¶8, defendant incorporates the remainder of its answer.



{T0465902}                                          -1-
        Case 6:20-cv-01018-KHV-ADM Document 6 Filed 03/19/20 Page 2 of 6




    10. Defendant is without sufficient information to form a belief as to the truth of the

        allegations contained in ¶9 and for that reason denies the same.

    11. Paragraph 10 is admitted.

    12. In response to ¶11, defendant agrees that plaintiff timely advised of his deployment

        orders. The remainder of ¶11 is denied.

    13. Paragraph 12 is denied as to the use of the term “several” as vague and undefined.

        Defendants state plaintiff was deployed as alleged and emails were exchanged. All

        allegations inconsistent with this admission are denied.

    14. Paragraphs 13, 14, 15, 16, and 17 are denied.

    15. Defendant is without sufficient information to form a belief as to the truth of the

        allegations contained in ¶18 and for that reason denies the same.

    16. Paragraphs 19 and 20 are denied.

    17. In response to ¶21, defendant states that Dr. Wyrick and Mr. Holtzman provided letters of

        recommendation per plaintiff’s request. Dr. Wyrick specifically asked Mr. Raschen if he

        would like him to emphasize a particular area and Mr. Raschen did not respond. All

        allegations included in ¶21 inconsistent with this statement are denied.

    18. Paragraph 22 is denied.

    19. In response to ¶23, defendant admits the letter from Ms. Whiteman states as quoted.

    20. In response to ¶24, defendant admits interviews were conducted. The remainder of ¶24 is

        denied.

    21. Paragraph 25 is admitted.

    22. Paragraph 26 is denied.




{T0465902}                                     -2-
        Case 6:20-cv-01018-KHV-ADM Document 6 Filed 03/19/20 Page 3 of 6




    23. In response to ¶27, defendant admits the letter is quoted correctly. Defendants denies this

        was a “finding” or “determination” by the USDOL. Defendant denies it violated

        USERRA.

    24. Paragraph 28 is denied. The email from Ms. Whiteman to Mr. Coney speaks for itself.

        Further the allegation and the letter discuss prior settlement negotiations that are

        inadmissible and should be stricken from the record. See F.R.E. 408 and 501.

    25. Paragraphs 29 and 30 are denied. Further the allegation and the letter discuss prior

        settlement negotiations that are inadmissible and should be stricken from the record. See

        F.R.E. 408 and 501.

    26. Paragraphs 31, 32, 33, 34 and 35 are denied.

    27. Defendant is without sufficient information to form a belief as to the truth of the

        allegations contained in ¶36 and for that reason denies the same.

    28. In response to ¶37 defendant admits a board meeting was held on November 7, 2018. The

        board meeting minutes accurately depict the content of the meeting. All allegations

        inconsistent with this statement included in ¶37 are denied.

    29. Paragraphs 38 and 39 are denied.

    30. In response to ¶40 defendant admits it was timely informed of plaintiff’s active duty

        assignment for January 2019. Defendant admits the $10,000 check issued and offered to

        plaintiff in November was included in the W-2 as wages for 2018. Defendant further

        states that Mr. Wyrick sent plaintiff a letter on January 25, 2019 advising that because the

        $10,000 check reflected additional compensation it was run through the District’s payroll

        system and would be included in in plaintiff’s W-2. Mr. Wyrick went on to state, “If you

        are still declining this $10,000.00 payment, please notify me in writing and the District



{T0465902}                                      -3-
        Case 6:20-cv-01018-KHV-ADM Document 6 Filed 03/19/20 Page 4 of 6




        will make arrangements to reissue a revised W-2 to you. If you have decided to accept

        the $10,000.00 payment please let me know in writing and we will make arrangements to

        deliver the check to you.”

    31. Paragraph 41 is denied.

    32. In response to ¶42, defendant incorporates the remainder of its answer.

    33. Paragraphs 43, 44, 45 and 46 are not statements of fact but statements of law and

        therefore, no answer is required of the defendant. To the extent an answer is required, the

        allegations are denied.

    34. Paragraph 47 is not a statement of fact requiring an answer from this defendant and for

        that reason is denied.

    35. Paragraphs 48, 49, 50 and 51 are statements of law not statements of fact and therefore do

        not require an admission or denial. To the extent an answer is required, the allegations are

        denied.

    36. Paragraphs 52, 53, 54, 55 and 56 are denied.

    37. In response to ¶57, defendant incorporates the remainder of its answer.

    38. In response to ¶58 defendant admit plaintiff alleges the claim and brings it to this court

        under supplemental jurisdiction. Defendant further states plaintiff fails to state a claim

        and supplemental jurisdiction should be denied.

    39. Paragraph 59 is a statement of law not requiring an admission or denial by the defendant

        and for that reason the allegation is denied.

    40. Paragraphs 60, 61 and 62 are denied.

    41. Plaintiff’s prayer for relief including paragraphs numbered 1 – 7 found on page 13 of the

        Complaint are denied in their entirety.



{T0465902}                                        -4-
        Case 6:20-cv-01018-KHV-ADM Document 6 Filed 03/19/20 Page 5 of 6




                                        ADDITIONAL DEFENSES

    42. Plaintiff fails to state a claim upon which relief can be granted.

    43. USD 506 did not violate USERRA.

    44. Any action taken by Defendant was not the result of unlawful motives, was not

        retaliatory, and would have occurred based on legitimate, lawful, and independent

        reasons regardless of plaintiff’s alleged uniformed service.

    45. Any action taken by Defendant was not a willful violation of the law.

    46. Plaintiff’s athletic director contract was for a one-year term with no reasonable

        expectation that it would continue beyond that contractual period.

    47. USERRA preempts state law causes of action.

    48. Plaintiff has suffered no damages.

    49. Defendant denies that Plaintiff has suffered any damages and denies that Plaintiff is

        entitled to any of the relief requested in his Complaint.

    50. Defendant denies that its conduct has caused Plaintiff any damages, Defendant denies

        causation, the nature and extent of Plaintiff’s damages.

    51. Plaintiff is not entitled to punitive or liquidated damages of any kind against Defendant.

    52. Plaintiff’s claims for equitable relief, if any, are barred in whole or in part by the

        existence of an adequate remedy of law.

    53. Plaintiff has failed to properly mitigate his damages, if any.

    54. Plaintiff’s claims are barred, in whole or in part, for Plaintiff’s failure to exhaust

        administrative remedies.

    55. Plaintiff’s claims for back pay, if any, must be offset by his interim or imputed earnings.




{T0465902}                                       -5-
        Case 6:20-cv-01018-KHV-ADM Document 6 Filed 03/19/20 Page 6 of 6




    56. Defendant’s conduct was not willful, and Plaintiff is not entitled to liquidated damages

        against Defendant.

                                      DEMAND FOR JURY TRIAL

        Defendant demands all appropriate fact issues be tried to a jury.


                                               FISHER, PATTERSON, SAYLER & SMITH, LLP
                                               3550 S.W. 5th Street
                                               Topeka, Kansas 66606
                                               Office: (785) 232-7761 | Fax: (785) 232-6604
                                               tmock@fisherpatterson.com

                                               s/Terelle Mock
                                               Terelle A. Mock                                #21465
                                               Attorney for Defendant

                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 19th day of March, 2020, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a notice of electronic
filing to the following:

        Christopher A. McElgunn, #13359
        KLENDA AUSTERMAN LLC
        301 N. Main St.
        Wichita, KS 67202-4816
        Office: (316) 290-4621 | Fax: (316) 267-0333
        cmcelgunn@klendalaw.com

        Brian J. Lawler (pro hac vice)
        PILOT LAW, P.C.
        850 Beech St., Ste. 713
        San Diego, CA 92101
        Office: (619) 255-2398 | Fax: (619) 231-4984
        blawler@pilotlawcorp.com
        Attorneys for Plaintiff

I further certify that I mailed the foregoing document and the notice of electronic filing by first-
class mail to the following non-CM/ECF participants: No one.

                                               s/Terelle A. Mock
                                               Terelle A. Mock



{T0465902}                                      -6-
